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 4                                  UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6                                                      ***
 7     UNITED STATES OF AMERICA,                                   Case No. 2:15-cr-00226-GMN-PAL
 8                                              Plaintiff,          REPORT OF FINDINGS AND
              v.                                                      RECOMMENDATION
 9
       JAZZMIN DAILEY,                                                 (Mot Suppress – Dkt. #73)
10
                                            Defendant.
11

12            Before the court is Defendant Jazzmin Dailey’s (“Dailey”) Motion to Suppress
13     Statements (Dkt. #73) which was referred to me for a Report of Findings of Recommendation
14     pursuant to 28 U.S.C. § 636(b)(1)(B) and LR IB1-4. The court has considered the Motion, and
15     the government’s response (Dkt. #85).
16                                              BACKGROUND
17            Dailey is charged in a two-count Indictment (Dkt. #28) returned August 5, 2015, with
18     transportation of a minor in violation of 18 U.S.C. § 2423(a) and (e), and attempt sex trafficking
19     in violation of 18 U.S.C. § 1591(a) and (b)(2), and § 1594(a) and (b).
20            The indictment arises out of an arrest on June 16, 2015, by officers of the Las Vegas
21     Metropolitan Police Department (“LVMPD”). According to the arrest report, LVMPD Officer
22     Twigger stopped two females in an area known for high prostitution activity. One of the women
23     identified herself as Jazzmin Dailey. The other female initially lied about her identity and age.
24     Eventually, she correctly identified herself and Officer Twigger confirmed she was a minor who
25     had been reported as a missing person.
26            Dailey allegedly told officers she was a prostitute engaging in prostitution and she had
27     come to Las Vegas with Raven Morris and Dailey’s boyfriend Steve, later identified as
28     Defendant Moore. The female juvenile made statements she was engaging in prostitution acts
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 1     directed by Dailey and Moore, and was in fear. Dailey and Moore were arrested. Dailey was

 2     taken to the Clark County Detention Center where Detective Chavez and Vice Detective Van

 3     Cleef conducted taped interrogations. The first taped interrogation of Ms. Dailey was conducted

 4     at 9:00 a.m. At the start of the interrogation, Detective Chavez advised Ms. Dailey:

 5            This is just standard. I just have to read you this before we talk, ok…no big deal.
              You have the right to remain silent. Anything you say can be used against you in
 6            a court of law. You have the right to the presence of an attorney. If you cannot
              afford an attorney, one will be appointed to you before questioning. Do you
 7            understand?
 8            Dailey seeks to suppress the statement she gave to Detective Chavez arguing the Miranda

 9     warnings were inadequate as they failed to advise her that she had the right to consult with an

10     attorney before questioning, or that she had the right to have an attorney present during

11     questioning.

12            Dailey was interrogated a second time at 15:50 hours. Detective Chavez advised:

13            I have to read this to you again. Ok? Like I read it to you earlier. You have the
              right to remain silent. Anything you say can be used against you in a court of
14            law. You have the right to the presence of an attorney. If you cannot afford an
              attorney, one will be appointed before any questioning. Do you understand your
15            rights?
16            Dailey argues that she was originally stopped and detained for jaywalking on the corner

17     of Cameron Road into the parking lot of the Orleans Casino. Officer Twigger clearly had verbal

18     contact with her and a juvenile, T.B. However, the report is silent as to the content and scope of

19     the questions asked. Officer Twigger’s report fails to articulate reasonable suspicion that Ms.

20     Dailey had done anything more serious than jaywalk, other than noting that Tropicana is a

21     “known area for high prostitution activity.” The only logical conclusion is that Dailey was

22     subjected to custodial interrogation. It is apparent she was not free to leave when contacted by

23     Officer Twigger for jaywalking. However, the stop concluded with her transportation to CCDC,

24     which is not the typical result of jaywalking. Dailey presumes that Officer Twigger detained and

25     questioned her beyond the scope necessary to get identification and issue a citation for

26     jaywalking. Therefore, her statement should be suppressed.

27            In addition, Dailey argues that the Miranda warnings that were administered were

28     inadequate. Dailey cites District Judge Richard F. Boulware’s recent decision in United States v.
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 1     Chavez, 111 F.Supp. 3d 1131 (D. Nev. 2015), which found that the Miranda warnings provided

 2     by the Las Vegas Metropolitan Police Department failed to advise the defendant of the right to

 3     talk to an attorney before being questioned, and were therefore legally deficient. District Judge

 4     Jennifer A. Dorsey and Magistrate Judge Cam Ferenbach have also held that these standard

 5     warnings were inadequate. See United States v. Loucious, Case No. 2:15-cr-00106-JAD-CWH;

 6     United States v. Carter, 2:15-cr-00322-KJD-VCF. Because both sets of warnings given to Ms.

 7     Dailey by Detective Chavez were defective, the court should suppress both statements.

 8            The government opposes the motion stating that LVMPD Patrol Officers Twigger and

 9     Endozo were patrolling on bikes in the area of Tropicana and Cameron Road near the Orleans

10     Hotel & Casino on June 16, 2015. This is an area known for high prostitution activity. The

11     officers observed a black female adult, later identified as Defendant Dailey, and a Hispanic

12     juvenile female later identified as minor victim T.B., crossing at a place other than a crosswalk.

13     Officer Twigger made visual contact with Dailey and T.B. and identified himself. Both females

14     fled on foot. Officers quickly caught up with them and made a Terry stop at 4780 W. Tropicana

15     Avenue in an outdoor uncovered parking lot based on reasonable suspicion that Dailey and T.B.

16     had jaywalked.

17            The officers learned that the black female adult was Dailey based on her Arizona driver’s

18     license. Dailey told officers that she was a prostitute working on the “Tropicana track.” The

19     female juvenile identified herself as Jennifer B. and initially stated she was an adult. After being

20     warned that lying to a law enforcement officer is a crime, the juvenile correctly identified

21     herself. After speaking with the juvenile, Officer Twigger confirmed that she was a missing

22     juvenile from another state. She was jaywalking in an area known for high prostitution activity

23     in the middle of the night, wearing very revealing clothing.         Officer Twigger sought the

24     assistance of a vice detective who responded to the scene. Vice Detective Englert immediately

25     recognized Dailey and T.B. from earlier in the evening when he had seen both of them and

26     another woman, Raven Morris, on the “Tropicana track.” Detective Englert spoke with the

27     juvenile at the scene. The juvenile stated she had come to Las Vegas with Dailey, Raven Morris,

28     and a man later identified as co-Defendant Moore. Raven Morris had been arrested by Vice
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 1     Detective Crumrine after Detective Englert had seen the three women together, and before

 2     Officers Twigger and Endozo encountered Dailey and the juvenile that night. The juvenile

 3     stated she was engaging in acts of prostitution under Dailey and Moore’s direction and that she

 4     was scared. She was arrested and transported to Juvenile Hall for loitering for purposes of

 5     prostitution, giving false information to a police officer, and jaywalking. Dailey and Moore were

 6     arrested and transported to the Clark County Detention Center for jaywalking and contributing to

 7     the delinquency of a minor.

 8             The government affirmatively represents that it does not intend to introduce Defendant

 9     Dailey’s pre-Miranda statements in the government’s case in chief. It argues that the Miranda

10     warnings that were given to Dailey were constitutionally adequate and reasonably conveyed

11     notice of a right to consult with an attorney before questioning, and the right to have an attorney

12     present during questioning. The government argues that the motion relies on three non-binding,

13     factually distinguishable decisions from this district, and that the Miranda warnings Dailey

14     received were adequate. District Judge James C. Mahan has concluded that a virtually identical

15     Miranda warning as given in Chavez and Loucious was constitutionally sufficient in United

16     States v. Waters, 2:15-cr-00080-JCM-VCF, Order (Dkt. #46), 2016 WL 310738, 2016 U.S. Dist.

17     LEXIS 8913 (D. Nev. Jan. 26, 2016). The government argues that the warnings that were

18     administered are practically verbatim to the warnings required in the Miranda decision itself.

19     The court should therefore deny the motion to suppress.

20                                               DISCUSSION

21        I.      Applicable Law

22             The Fifth Amendment guarantees that no person “shall be compelled in any criminal case

23     to be a witness against himself.” U.S. Const. Amendment V. In Miranda v. Arizona, 384 U.S.

24     436 (1966), the Supreme Court held that the Fifth Amendment of the Constitution affords a

25     citizen the right to be informed prior to custodial interrogation that “he has the right to remain

26     silent, that anything he says can be used against him in a court of law, that he has the right to the

27     presence of an attorney, and that if he cannot afford an attorney, one will be appointed for him

28     prior to any questioning.” Id. at 479. The Supreme Court presumed that interrogation in certain

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 1     custodial circumstances is inherently coercive and held that statements made under those

 2     circumstances are inadmissible unless the suspect is specifically warned of his Miranda rights

 3     and freely decides to forgo those rights. New York v. Quarles, 467 U.S. 649, 654 (1984).

 4            The Miranda decision “established certain procedural safeguards that require police to

 5     advise criminal suspects of their rights under the Fifth and Fourteenth Amendments before

 6     commencing custodial interrogation.” Duckworth v. Eagan, 492 U.S. 195, 202 (1989). Miranda

 7     warnings are prophylactic in nature and are “not themselves rights protected by the

 8     Constitution.” Michigan v. Tucker, 417 U.S. 433, 444 (1974). Instead, Miranda warnings are

 9     “measures to ensure that the right against compulsory self-incrimination [is] protected.” Id. For

10     this reason, courts reviewing the adequacy of warnings, “need not examine Miranda warnings as

11     if construing a will or defining the terms of an easement.” Eagan, 492 U.S. at 203. Reviewing

12     courts should determine whether the warnings that were administered reasonably conveyed to the

13     suspect the rights Miranda requires. California v. Prysock, 453 U.S. 355, 361 (1981). No

14     “talismanic incantation” is required to satisfy the warnings Miranda requires. Id. at 359. Rather,

15     the language used in the Miranda decision or their “fully effective equivalent” are prerequisites

16     to the admissibility of any statement made by a suspect in custody. Id. at 360.

17            A misleading Miranda warning is inadequate. Prysock, 453 U.S. at 359. The Ninth

18     Circuit has held that Miranda warnings “must be read and conveyed to all persons clearly and in

19     a manner that is unambiguous.” San Juan-Cruz, 314 F.3d at 389. However, “[t]o be found

20     inadequate, an ambiguous warning must not readily permit an inference of the appropriate

21     warning.” Doody v. Schriro, 548 F.3d 847, 863 (9th Cir. 2008), aff’d on remand by Doody v.

22     Ryan, 649 F.3d 986 (9th Cir. 2011) (en banc). A determination of the adequacy of Miranda

23     warnings raises mixed questions of law and fact, which the Ninth Circuit reviews de novo.

24     Sechrist v. Ignacio, 549 F.3d 789, 805 (9th Cir. 2008).

25            In Duckworth v. Eagan, 492 U.S. 195 (1989), the Supreme Court resolved a conflict

26     among the lower courts concerning whether informing a suspect that an attorney would be

27     appointed “if and when you go to court” rendered Miranda warnings inadequate. The Seventh

28     Circuit found the “if and when you go to court” language suggested that only those accused who
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 1     can afford an attorney have the right to have one present before answering questions and implied

 2     that if the accused does not go to court, that is, if the government does not file charges, the

 3     accused is not entitled to counsel at all. Id. at 199–201. The Supreme Court rejected this view,

 4     finding that the Court of Appeals “misapprehended the effect of the inclusion of” this language.

 5     Id. at 203. The Supreme Court held that the “if and when you go to court” language did not

 6     render Miranda warnings inadequate. It reasoned that the “if and when you go to court”

 7     language accurately described the procedure under Indiana law to appoint counsel at the

 8     defendant’s initial appearance and simply anticipates a suspect’s question of when he will obtain

 9     counsel. Id. at 204. Additionally, the Supreme Court reiterated that Miranda did not require that

10     attorneys be “producible on call” or suggest that every police station must have a lawyer

11     available at all times to advise suspects. Id.

12            In United States v. Miguel, 952 F.2d 285 (9th Cir. 1991), the Ninth Circuit concluded that

13     Miranda warnings were adequate when the officer told the suspect he “may” have an attorney

14     appointed if he could not afford one. Id. at 287–88. A suspect must be informed of the right to

15     have counsel present during questioning. United States v. Noti, 731 F.2d 610, 615 (9th Cir.

16     1984). In United States v. Noa, 443 F.2d 144 (9th Cir. 1971), the Ninth Circuit held that the

17     Miranda warning was adequate even though it did not explicitly state that appointed counsel

18     would be available prior to and during questioning. In People of the Territory of Guam v. Snaer,

19     758 F.2d 1341 (9th Cir. 1985), the Ninth Circuit concluded that Guam’s standard advisement of

20     rights form was adequate even though it did not expressly state that the Defendant had the right

21     to consult with a lawyer before questioning or prior questioning.

22            The Snaer decision recognized the importance that a defendant be adequately warned of

23     his right to consult with an attorney before questioning. Id. at 1343. It also recognized that

24     although Miranda requires a defendant to be advised of his right to consult with counsel before

25     questioning, the case law is ambiguous concerning how explicitly the person must be warned of

26     that right. Id. 1342. To comply with the Fifth Amendment, a Miranda warning does not have to

27     be explicit as long as it adequately conveys notice of the right to consult with an attorney before

28     questioning. Id. at 1343.
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 1        II.      Analysis and Decision.

 2              Two district judges and one magistrate judge in this district have concluded that the

 3     standard LVMPD Miranda warnings are constitutionally inadequate.               In Chavez, Judge

 4     Boulware’s decision noted that although the officer testified she read the defendant Miranda

 5     warnings from a card, she did not testify as to what was printed on the card and there was no

 6     other testimony in the record about the rights that were read to the defendant. 111 F. Supp. 3d at

 7     1138. In Lucious, Judge Dorsey found that LVMPD’s standard Miranda warning card was

 8     inadequate because it did not adequately convey the right to consult with counsel before

 9     questioning. The United States has filed a notice of appeal, and Judge Dorsey’s order is before

10     the Ninth Circuit.    Judge Mahan found that Miranda warnings given to a defendant were

11     constitutionally adequate when they advised him of the right to the presence of an attorney

12     during questioning and that if the defendant could not afford an attorney one would be appointed

13     to him before questioning. See Waters, Case No. 2:15-cr-00080-JCM-VCF, Order (Dkt. #46).

14     Judge Mahan found that although the Ninth Circuit has emphasized the critical importance of the

15     right to know that counsel may be present during questioning, it had upheld warnings that failed

16     to explicitly inform defendants of the right to consult with appointed counsel prior to

17     questioning. Id. (citing Unites States v Noa, 443 F 2d. 144, 146 (9th Cir. 1971)).

18              Miranda requires that a person subjected to custodial interrogation must receive four

19     warnings prior to any questioning. These four warnings “are invariable,” but the words used

20     may be varied so long as “essential information is conveyed.” Florida v. Powell, 559 U.S. 50,

21     60 (2010). First, Miranda requires advising a suspect that “he has the right to remain silent.” 384

22     U.S. at 479. Here, Dailey was advised, “[y]ou have the right to remain silent.” Second, Miranda

23     requires a warning “that anything a suspect says can be used against him in a court of law.” Id.

24     Dailey was advised, “[a]nything you say can be used against you in a court of law.” Third,

25     Miranda requires that a suspect be warned “he has the right to the presence of an attorney.” Id.

26     Dailey was advised, “[y]ou have the right to the presence of an attorney.” Fourth, Miranda

27     requires that a suspect be warned that “if he cannot afford an attorney, one will be appointed for

28     him prior to any questioning if he so desires.” Id. Dailey was advised, “[i]f you cannot afford an
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 1     attorney, one will be appointed before questioning.” Dailey was then asked if she understood

 2     these rights, and answered “yeah.”

 3            The Court finds that the Miranda warnings Dailey received complied with the four

 4     warnings Miranda mandates. Dailey argues that advising her of the right to the presence of an

 5     attorney during questioning does not adequately convey her right to have an attorney present

 6     throughout the interrogations. However, the Miranda decision itself articulates the warning that

 7     must be given as “the right to the presence of an attorney, and that if he cannot afford and

 8     attorney, one will be appointed for him prior to any questioning.” 384 U.S. at 479. In Snaer, the

 9     decision relied upon by both judges Boulware and Dorsey, the Ninth Circuit found a Miranda

10     warning adequate which failed to advise the defendant that he had the right to consult with a

11     lawyer before questioning or prior to questioning. 758 F.2d at 1342. The warning that was

12     upheld in Snaer stated, “[y]ou have the right to consult with a lawyer and to have a lawyer

13     present with you while you are being questioned.” Id. at 1343. The Ninth Circuit held that “the

14     first part of that sentence read in the context of the latter half of the sentence does adequately

15     convey notice of the right to consult with an attorney before questioning” even though it did not

16     explicitly inform him of that right. Id.

17            The Court finds that the Miranda warnings Dailey received were more explicit than the

18     one found sufficient in Snaer. It seems clear that a reasonable person would infer that she had

19     the right to have a lawyer present throughout questioning from the warnings Dailey received.

20     Dailey was told she had the right to the presence of an attorney. A reasonable person would

21     understand that the right to the presence of an attorney, and that one would be appointed prior to

22     questioning if she could not afford an attorney, would include the right to consult with an

23     attorney prior to questioning, and to have an attorney present throughout questioning. Moreover,

24     the Miranda warnings Dailey received are virtually identical to the four warnings the Supreme

25     Court mandated in Miranda. LVMPD’s standard Miranda warning recites the four warnings

26     mandated by Miranda almost verbatim with the exception of the final three words “if he so

27     desires”. The warnings Dailey received adequately conveyed what Miranda requires.

28     ///
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 1            Finally, as the government affirmatively represents it will not seek to introduce

 2     statements Dailey during her initial detention and prior to the tape recorded post Miranda

 3     statements, the court need not address Dailey’s arguments that she was subjected to custodial

 4     interrogation before Miranda warnings were administered. However, the government will be

 5     required to adhere to its representations to Dailey and the court.

 6            For the reasons explained,

 7            IT IS RECOMMENDED that Dailey’s Motion to Suppress Statements (Dkt. #73) be

 8     DENIED.

 9            Dated this 23rd day of May, 2016.

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                                                             ___________________________________
11                                                           PEGGY A. LEEN
                                                             UNITED STATES MAGISTRATE JUDGE
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